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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                               Southern District
                                             __________  DistrictofofNew York
                                                                      __________


            Regeneron Pharmaceuticals, Inc.,                   )
                             Plaintiff                         )
                                v.                             )      Case No.     7:20-cv-10488-KMK
   U.S. Dept. of Health and Human Services, et al.,            )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          American Society of Clinical Oncology                                                                        .


Date:          12/16/2020                                                                 Meredythe Ryan
                                                                                         Attorney’s signature


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